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                                   EXHIBIT A




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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

                                              )
 In re:                                       )     Case No. 12-12020 (MG)
                                              )
 RESIDENTIAL CAPITAL, LLC, et al.,            )     Chapter 11
                                              )
                                              )     Jointly Administered
 Debtors.                                     )

                CERTIFICATION UNDER GUIDELINES FOR FEES AND
               DISBURSEMENTS FOR PROFESSIONALS IN RESPECT OF
          THIRD INTERIM APPLICATION OF CARPENTER LIPPS & LELAND
           LLP AS SPECIAL LITIGATION COUNSEL FOR THE DEBTORS FOR
          COMPENSATION AND REIMBURSEMENT OF EXPENSES INCURRED
             FOR THE PERIOD JANUARY 1, 2013 THROUGH APRIL 30, 2013


I, David A. Beck, hereby certify that:

          1.   I am Of Counsel with the applicant firm, Carpenter Lipps & Leland LLP (the

“Firm”), and am authorized to make this Certification on behalf of the Firm which serves as

special litigation counsel to Residential Capital, LLC, et al., as debtors and debtors in possession

(collectively, the “Debtors”).

          2.   This certification is made in respect of the Firm’s compliance with the Amended

Guidelines for Fees and Disbursements for Professionals in Southern District of New York

Bankruptcy Cases, Administrative Order M-447, adopted by the Court on January 29, 2013 (the

“Local Guidelines”), the United States Trustee Guidelines for Reviewing Applications for

Compensation and Reimbursement of Expenses Filed Under 11 U.S.C. § 330, adopted on

January 30, 1996 (the “UST Guidelines”) and the Order to Establish Procedures for Interim

Monthly Compensation and Reimbursement of Expenses of Professionals (the “Interim

Compensation Order”) (Docket No. 172), and collectively with the Local Guidelines and UST

Guidelines, the “Guidelines”), in connection with the Firm’s application, dated August 7, 2013



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(the “Application”), for interim compensation and reimbursement of expenses for the period

commencing January 1, 2013 through and including April 30, 2013, in accordance with the

Guidelines.

       3.      In respect of Section B.1 of the Local Guidelines, I certify that:

               (1)     I have read the Application;

               (2)     to the best of my knowledge, information, and belief
                       formed after reasonable inquiry, the fees and expenses
                       sought fall within the Guidelines;

               (3)     subject to certain discounts agreed to with the Debtors, the
                       fees and disbursements sought are billed at rates and in
                       accordance with practices customarily employed by the
                       Firm and generally accepted by the Firm’s clients; and

               (4)     in providing the reimbursable expenses reflected in the
                       Application, the Firm did not make a profit on those
                       services, whether performed by the Firm in-house or
                       through a third party.

       4.      In respect of Section B.2 of the Local Guidelines and as required by the Interim

Compensation Order, I certify that the Firm has served by overnight delivery on the parties

specified on the Interim Compensation Order the monthly fee statements referenced in the

summary section of the Application on the dates specified in the Application.

       5.      In respect of Section B.3 of the Local Guidelines, I certify that each of the

Debtors, their attorneys, and the United States Trustee for the Southern District of New York is

being served with a copy of the Application.

       6.      In accordance with the requests of the Court at the hearing on December 20, 2012,

I certify to the following with respect to the compensation and reimbursement of expenses

requested in the Fee Application:

               (1)     All fees billed to the client for air travel reflect coach or
                       economy class tickets;



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               (2)     CLL is not requesting reimbursement of out-of-town travel
                       meals in excess of $20.00 per person per meal (CLL does
                       not charge the estate for meals working late at its home
                       offices);

               (3)     CLL passes through contract document attorney charges at
                       the cost charged by the third-party service provider;

               (4)     CLL does not charge for in-house copying, outside vendor
                       invoices were passed through at cost; and

               (5)     Taxi charges involving travel within New York City reflect
                       travel to or from the airport or where voluminous materials
                       were taken to Court.



Dated: August 7, 2013                    /s/ David A. Beck
                                         David A. Beck
                                         CARPENTER LIPPS & LELAND LLP
                                         280 Plaza, Suite 1300
                                         280 North High Street
                                         Columbus, Ohio 43215
                                         Phone: (614) 365-4100
                                         Fax: (614) 365-9145

                                         Special Litigation Counsel to the Debtors and
                                         Debtors in Possession




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